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                             FOR THE DISTRICT OF NEW MEXICO                .         JUL   292024                ,

                                                                                                      ' 't l"i
                                                                               MITCHELL
                                                                                           R. ELFERS ':'
   UNITED STATES OF AMERICA,                                                          CLEBK



                                                                Cr. No.23-0033 KWR



                    Defendant.


                                       PLEA AGREEMENT

        Pursuant to Rule I l(c)(l)(C), Fed. R. Crim. P., the parties notify the Court of the

following agreement between the United States of America, by the United States Attorney for

the District of New Mexico, and the Defendant, Keith Diemer, with the advice and counsel of his

attorney, Aric Elsenheimer. This agreement is limited to the United States Attorney's Office for

the District of New Mexico and does not bind any other federal, state, or local agencies or

prosecuting authorities.

                                 REPRESENTATION BY COUNSEL

        1.     The Defendant understands the Defendant's right to be represented by an attorney

and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the

Defendant's attorney and is fully satisfied with that attorney's legal representation.

                                  RIGHTS OF THE DEFENDANT

       2.      The Defendant further understands the Defendant's rights:

               a.       to plead not guilty, or having already so pleaded, to persist in that plea;

               b.       to have a trial by jury; and
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               c.      at a trial:

                      i.         to confront and cross-examine adverse witnesses,

                      ii.        to be protected from compelled self-incrimination,

                     iii.       to testiff and present evidence on the Defendant's own behalf, and

                     iv.        to compel the attendance of witnesses for the defense.

                      WAIVER OF RIGHTS AND PLEA OF GUILTY

        3.     The Defendant agrees to waive these rights and to plead guilty to the indictment,

charging a violation of I 8 U.S.C. $ 1038(a)( I ): False Information and Hoaxes.

                                           SENTENCING

        4.     The Defendant understands that the maximum penalty provided by law for this

offense is:

               a.     imprisonment for a period of not more than five years;

               b.      a fine not to exceed the greater of $250,000 or twice the pecuniary gain to

                      the Defendant or pecuniary loss to the victim;

               c.      a term of supervised release of not more than three years to follow any


                      term of imprisonment. (lf the Defendant serves a term of imprisonment, is

                      then released on supervised release, and violates the conditions of

                      supervised release, the Defendant's supervised release could be revoked

                            even on the last day of the term       and the Defendant could then be
                      -                                        -
                      returned to another period ofincarceration and a new term ofsupervised

                      release.);

              d.      a mandatory special penalty assessment of $ 100.00; and

              e.      restitution as may be ordered by the Court.
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       5.      The parties recognize that the federal sentencing guidelines are advisory and that

the Court is required to consider them in determining the sentence it imposes.

       6.      The parties are aware that the Court will decide whether to accept or reject this plea

agreement. The Court may defer its decision as to acceptance or rejection until there has been an

opportunity to consider the presentence report. Pursuant to Federal Rule of Criminal Procedure

I l(c)(5), if the Court rejects this plea agreement, the Defendant shall have the right to withdraw

the Defendant's plea of guilty.

       7   .   Regardless of any other provision in this agreement, the United States reserves the

right to provide to the United States Pretrial Services and Probation Office and to the Court any

information the United States believes may be helpful to the Court, including but not limited to

information about the recommendations contained in this agreement and any relevant conduct

under U.S.S.G. $ lBl.3.

                                  ELEMENTS OF THE OFFENSE

       8.      If this matter proceeded to trial, the Defendant understands that the United States

would be required to prove, beyond a reasonable doubt, the following elements for violations of

the charges listed below:

       l8 U.S.C. Q 1038(aXl): False Information and Hoaxes:

                First:            The defendant intentionally conveyed false or
                                  misleading information.

                Second:           The defendant did so under circumstances where such
                                  information could reasonably be believed; and

                Third:            Said information indicated that an activity had taken
                                  place that would constitute a violation of 49 U.S.C. $
                                  46505(bX3), which prohibits a person from placing
                                  explosive or incendiary device on an aircraft.
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                           DEFENDANT'S ADMISSION OF FACTS

        9.       By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize

and accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge

that if I chose to go to trial instead of entering this plea, the United States could prove facts

sufficient to establish my guilt of the offense(s) to which I am pleading guilty beyond a

reasonable doubt, including any facts alleged in the indictment that increase the statutory

minimum or maximum penalties. I specifically admit the following facts related to the charges

against me, and declare under penalty of perjury that all of these facts are true and correct:

        On October 2,2022,I boarded American Airlines Flight 928 from Dallas to

Albuquerque. During the flight, and while in the air, I used Apple AirDrop to

intentionally send false and misleading messages to other passengers. The messages

implied that I had brought a "bombr" i.e., an incendiary device, onto the airplane and

indicated that I would use it to blow up the plane. Because I and the recipients of the

AirDrop messages were on an airplane at the time, the false information in the messages

could have reasonably been believed by anyone who read those messages.

        10. By signing this agreement, the Defendant admits that there is a factual basis for
each element of the crime(s) to which the Defendant is pleading guilty and agrees to affirm the

facts set forth above during the plea colloquy. The Defendant agrees that the Court may rely on

any of these facts, as well as facts in the presentence report, to determine the Defendant's

sentence, including, but not limited to, the advisory guideline offense level.

                                     RECOMMENDATIONS

        I   l.   The United States and the Defendant recommend as follows:



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                   a.   The Defendant and the United States have made an AGREEMENT

                        pursuant to Federal Rule of Criminal Procedure I I (c)(l )(C), that a specific

                        sentence of 36 months' supervised probation is the appropriate disposition

                        in this case. This agreement takes into account the Defendant's acceptance

                        of responsibility, with no further reduction to occur.

                   b.   The remaining components of the Defendant's sentence, including but not

                        limited to any fine or restitution and the length and conditions of

                        supervised release, shall be imposed by the Court after the presentation of

                        evidence and/or argument by the parties.

                   c.   If the Court accepts the plea agreement, it must inform the Defendant that

                        the agreed upon disposition will be included in the judgment, and the

                        Court is bound by the terms of the plea agreement once the Court accepts

                        the plea agreement.

                        DEFENDANT'S ADDITIONAL AGREEMENT

        12. The Defendant understands the Defendant's obligation to provide the United
States Pretrial Services and Probation Office with truthful, accurate, and complete information.

The Defendant represents that the Defendant has complied with and will continue to comply with

this obligation.

        13. The Defendant agrees that any financial records and information provided by the
Defendant to the Probation Office, before or after sentencing, may be disclosed to the United

States Attorney's Office for use in the collection of any unpaid financialobligation.

        14. Except under circumstances where the Court, acting on its own, rejects this plea
agreement (or functionally rejects it, as described below under the heading Violation or
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Rejection of Plea Agreement), the Defendant agrees that, upon the Defendant's signing of this

plea agreement, the facts that the Defendant has admitted under this plea agreement as set forth

above, as well as any facts to which the Defendant admits in open court at the Defendant's plea

hearing, shall be admissible against the Defendant under Federal Rule of Evidence 801(dX2XA)

in any subsequent proceeding, including a criminal trial, and the Defendant expressly waives the

Defendant's rights under Federal Rule of Criminal Procedure I l(f) and Federal Rule of Evidence

410 with regard to the facts the Defendant admits in conjunction with this plea agreement. The

Court has not acted on its own if its rejection of the plea agreement occurs after the Defendant

has expressly or implicitly suggested to the Court a desire or willingness to withdraw his or her

plea or not to be bound by the terms of this plea agreement.

        15. By signing this plea agreement, the Defendant waives the right to withdraw the
Defendant's plea of guilty pursuant to Federal Rule of Criminal Procedure I l(d) unless (l) the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure I I (c)(5) or (2)

the Defendant can show a fair and just reason as those terms are used in Rule 1l(d)(2)(B) for

requesting the withdrawal.

        16. The Defendant recognizesthatthis plea agreement has already conferred a benefit
on the Defendant. Consequently, in return for the benefit conferred on the Defendant by entering

into this agreement, the Defendant agrees not to seek any sentence other than the specific

sentence of 36 months' supervised probation as agreed to by the parties pursuant to Rule

1l(cXlXC) of the Federal Rules of Criminal Procedure.

        17. The Defendant will not willfully fail to appear for any court appearance in this
matter, nor willfully fail to surrender as ordered for service of any sentence.
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        18.     The Defendant agrees not to engage in conduct that would constitute a new

crime. Offenses that would be excluded for sentencing purposes under U.S.S.G. $ 4,Al .2(c) are

not within the scope of this paragraph's agreement.

        19. Defendant agrees not to engage in conduct that would constitute obstructing or
impeding the administration ofjustice under U.S.S.G. $ 3C1.1.

                                          RESTITUTION

        20. The parties agree that, as part of the Defendant's sentence, the Court will enter an
order of restitution pursuant to the Mandatory Victim's Restitution Act, l8 U.S.C. $ 36634 if

applicable; if $ 36634 is not applicable, the Court will enter an order of restitution pursuant to I 8

U.S.C $$ 3663 and3664.

       21. No later than July I of each year after sentencing, until restitution is paid in full,
the Defendant shall provide the Asset Recovery Unit, United States Attorney's Office, P.O. Box

607, Albuquerque, New Mexico 87103, (l) a completed and signed financial statement provided

to the Defendant by the United States Attorney's Office and/or the United States Probation

Office and (2) a copy of the Defendant's most recent tax returns.

          WAIVER OF APPEAL RIGHTS AND POST.CONVICTION RIGHTS

       22.     The Defendant is aware that 28 U.S.C. $ l29l and l8 U.S.C. S 3742 afford the

right to appeal a conviction and the sentence imposed. Acknowledging that, the Defendant

knowingly waives the right to appeal the Defendant's conviction(s) and any sentence imposed in

conformity with this Fed. R. Crim. P. 1l(c)(l)(C) plea agreement, as wellas any order of

restitution entered by the Court. This waiver extends to any challenge to the manner in which the

sentence was determined or imposed, including the district court's authority to make findings

supporting the sentence.
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        23.     The Defendant also waives the right to appeal any sentence imposed below or

within the guideline range upon a revocation of supervised release in this cause number but may

nonetheless appeal the determination of the revocation guideline range.

        24.     The Defendant also waives the right to appeal the denial of any motion filed under

l8 U.S.C. $ 3582(c) where such denial rests upon the court's determination that a sentence

reduction is not warranted under the factors set forth in 18 U.S.C. $ 3553(a).

        25.     In addition, the Defendant agrees to waive any collateral attack to the Defendant's

conviction(s) and any sentence pursuant to 28 U.S.C. $$ 2241 ,2255, or any other extraordinary

writ, except on the issue of defense counsel's ineffective assistance.

                      GOVERNMENT'S ADDITIONAL AGREEMENT

        26.     Provided that the Defendant fulfills the Defendant's obligations as set out above,

the United States agrees that:

                a.     The United States will not bring additional criminal charges against the

                       Defendant arising out of the facts forming the basis of the present

                       indictment.

                                      VOLUNTARY PLEA

       27   .   The Defendant agrees and represents that this plea of guilty is freely and

voluntarily made and is not the result of force, threats, or promises (other than the promises set

forth in this agreement and any addenda). The Defendant also represents that the Defendant is

pleading guilty because the Defendant is in fact guilty.

                  VIOLATION OR REJECTION OF PLEA AGREEMENT

       28. The Defendant agrees that if the Court finds by a preponderance of the evidence
that the Defendant has violated any provision of this agreement, the United States will be
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released from its obligations under the agreement. In such a case, or where the Court has rejected

the plea agreement or has functionally rejected it by failing to accept the agreement within six

months of its entry (except where the United States, in its sole discretion, agrees to an extension

of that time) the United States is released from its obligations under the plea agreement and the

Defendant will thereafter be subject to prosecution for any criminal violation, including but not

limited to any crime(s) or offense(s) contained in or related to the charges in this case, as well as

perjury, false statement, obstruction ofjustice, and any other crime committed by the Defendant

during this prosecution.

       29.     The Defendant further agrees that in the event the Court finds that Defendant has

breached this plea agreement, thus releasing the United States of its obligations under the

agreement, such events do not constitute a fair and just reason under Rule I I (d)(2)(B) for

withdrawing the guilty plea(s) entered pursuant to this agreement.

       30.     Following the Court's finding of a breach of this agreement by the Defendant, or

rejection or functional rejection of the agreement by the Court, should the United States choose

to pursue any charge that was either dismissed or not filed as a result of this agreement, the

Defendant waives any defense to that charge or charges based on the lapse of time between the

entry of this agreement and such event.

                                    SPECIAL ASSESSMENT

       31. At the time of sentencing, the Defendant will tender to the United States District
Court, District of New Mexico, 333 Lomas Blvd. NW, Suite 270, Albuquerque, New Mexico

87102, a money order or certified check payable to the order of the United States District

Court in the amount of $100 in payment of the special penalty assessment described above.
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                                 ENTIRETY OF AGREEMENT

        32.    This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in writing and signed by all parties. This agreement is

effective upon signature by the Defendant and an Assistant United States Attorney.

       AGREED ro AND SIGNED            thisfl\ay ,t , )* //                ,2024.
                                                      ALEXANDER M.M. UBALLEZ




                                                             nt United States Attorney
                                                      Albuquerque, New Mexico 87102
                                                      (sos) 346-7274


        I have carefully discussed every part of this agreement with my client. Further, I have
fully advised my client of my client's rights, of possible defenses, of the sentencing factors set
forth in l8 U.S.C. $ 3553(a), of the relevant sentencing guidelines provisions, and of the
consequences of entering into this agreement. In addition, I have explained to my client the
elements to each oflense to which she/he is pleading guilty. To my knowledge, my client's
decision to enter into this agreement is an informed and voluntary one.




                                                      AridElsenheimer
                                                      Attorney for the Defendant

        I have carefully discussed every part of this agreement with my attorney. I understand the
terms of this agreement, and I voluntarily agree to those terms. My attorney has advised me of
my rights, of possible defenses, of the sentencing factors set forth in l8 U.S.C. $ 3553(a), of the
relevant sentencing guidelines provisions, and of the consequences of entering into this
agreement.




                                                      Defendant




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